Case 1:23-cv-00108-LMB-JFA Document 1015 Filed 07/26/24 Page 1 of 2 PageID# 74616




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division
  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )

   PLAINTIFFS’ OBJECTIONS TO DEFENDANT’S COUNTER-DESIGNATIONS AND
            PLAINTIFFS’ SUBMISSION OF FAIRNESS DESIGNATIONS

         Plaintiffs, by and through undersigned counsel, file their objections to Google’s counter-

  designations (ECF No. 919), and submit Plaintiffs’ fairness designations attached hereto as

  Exhibits 1 and 2, in accordance with this Court’s Order of June 24, 2024 (ECF No. 871). The

  “Confidentiality” column refers to designations under the operative Protective Order, see ECF No.

  203, and does not reflect Plaintiffs’ views as to whether any portion of a particular deposition

  should remain under seal at trial.

         (See following page for signatures.)




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Case 1:23-cv-00108-LMB-JFA Document 1015 Filed 07/26/24 Page 2 of 2 PageID# 74617




  Dated: July 26, 2024

  Respectfully submitted,

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